Case 2:04-cr-20163-.]PI\/|-tmp Document 76 Filed 04/21/05 Page 1 of 2 Page|D 97

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IN THE UNITED sTATEs DISTRICT COURT 05:§1"3`§`\’2; vs ;,; _;u
FOR THE wEsTERN DISTRICT OF TENNESSEE

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UNITED STATES OF AMERICA,
Plaintiff,

V. Cr. NO. 04-20163 Ml

VIRGIL 'I`AB, JR.,

Defendant.

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ORDER OF REFERENCE

 

Before the Court is the motion of Attorney Coleman W.
Garrett and William L. Johnson for an order allowing counsel to
be withdrawn, filed April 19, 2005.

This matter is referred to the United States Magistrate
Judge for determination and for appointment of new counsel, if
appropriate. Any exceptions to the magistrate judge's order
shall be made within ten (10) days of the magistrate judge's
order, setting forth particularly those portions of the order
excepted to and the reasons for the exceptions.

IT rs so ORDERED THIS Q?| DAY oF April, 2005.

OM‘-OM

J PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

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with F\u\e 55 and/or 32{b) FRCrP on j sir Q 7¢

 

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This notice confirms a copy of the document docketed as number 76 in
case 2:04-CR-20163 Was distributed by faX, mail, or direct printing on
Apri122, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

